Case 2:05-cr-20129-SH|\/| Document 34 Filed 08/18/05 Page 1 of 3 Page|D 34

 

IN THE UNITED sTATES DISTRICT coURT =F|LED BV _, n.c,
FoR THE wESTERN DISTRICT 0F TENNESSEE
wEsTERN DIvIsION 05 AUG |8 PH l»: 514
UNITED sTATEs oF AMERICA, CLEW§U.S.D,§{TH§{())%"O%M
W!D (?F?:\-: seem
vs. NO. 05-20129-Ma

MICHAEL ELY,

Defendant.

 

ORDER WAIVING APPEARANCE A"I‘ REPOR'I' DATE

 

Before the court is the August 15, 2005, motion of defendant
Michael Ely, to waive his appearance at the report date on August
26, 2005.

The defendant's signed waiver of appearance is filed with
this order. For good cause shown, Michael Ely's appearance is

waived at the report date set on August 26, 2005, based on his

M~

written waiver.

It is so ORDERED this day of August, 2005.

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SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Th'\s docL.ment entered on the docket sheet \n corl\pl\a

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Case 2:05-cr-20129-SH|\/| Document 34 Filed 08/18/05 Page 2 of 3 Page|D 35

IN THE UNITED STATES DISTR_ICT COURT

FoR THE wEsTERN merch or TENNESSEE F?LED ay '
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UNrrED STATES oF AMERICA, 5
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Piaimiff, CLEFF< t{§ag;§€}%nr
9 "'f~ sisters
vs. Cr. No. 05-20129-Ma
MICHAEL ELY,
Defendant.

 

WAIVER OF PERSONAL APPEARANCE AT REPORT DATE

 

I, Micliael Ely, a defendant in this case, and along with my undersigned attorney, hereby
acknowledge the following:

I understand I have the right to appear personally with my attorney before a judicial ofiicer
for report in open Court on the above-numbered indictment I further understh that, absent the
present waiver, I must appear as directed

Ihave conferred with my attomey and fully understand all of the above. I hereby waive my
personal appearance at the report date and Waive any rights I may have under the Speedy Trial Act,

is U.s.c. §3161,:-;_1@.

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DAE M1 eIY/¢Z/M

’Randolph vt Alden
Assista.nt Federal Defender

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:05-CR-20129 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listcd.

 

 

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

